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                EXHIBIT B
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      The Prudential Insurance Company
 7    Of America and PGIM
      Real Estate Finance, LLC
 8
                          IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
      THE     PRUDENTIAL    INSURANCE                  Case No. 1:24-cv-01102-KES-SAB
11    COMPANY OF AMERICA and PGIM REAL
      ESTATE FINANCE, LLC
12
                                  Plaintiffs,
13
      v.
14
      ACDF, LLC; ASSEMI AND SONS, INC.;
15    AVILA RANCH EA, LLC; BEAR FLAG
      FARMS, LLC; C & A FARMS, LLC;
16    CANTUA ORCHARDS, LLC; DA REAL
      ESTATE HOLDINGS, LLC; FAVIER
17    RANCH, LLC; FG2 HOLDINGS LLC;
      GRADON FARMS, LLC; GRANVILLE                     DECLARATION OF WILLIAM
18    FARMS, LLC; GRANTLAND HOLDINGS                   SCIACQUA IN SUPPORT OF EX
      NO. 1, LLC; GRANTLAND HOLDINGS NO.               PARTE MOTION FOR ORDER
19    2, LLC; GRANTOR REAL ESTATE                      APPOINTING RECEIVER AND FOR
      INVESTMENTS,        LLC;     GVM                 PRELIMINARY INJUNCTION
20    INVESTMENTS, LLC; GV AG, LLC;
      LINCOLN GRANTOR FARMS, LLC;
21    MARICOPA ORCHARDS, LLC; PANOCHE
      PISTACHIOS, LLC; SAGEBERRY FARMS,
22    LLC; DEREK BELL; and RACHEL MARIE
      WHITE.
23
24                  Defendants.

25          I, William Sciacqua, declare as follows:
26          1.      I am an Executive Director of PGIM Real Estate Finance, LLC, a Delaware limited
27    liability company (“PGIM REF”). The Prudential Insurance Company of America, a New Jersey
28
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1     corporation (“Prudential” and together with PGIM REF, “Plaintiff”), and PGIM REF, each in its
2     own capacity as a lender and PGIM REF also in its capacity as special servicer for and on behalf
3     of PAR U HARTFORD LIFE & ANNUITY COMFORT TRUST, a New York trust (“Hartford
4     Trust” and together with Plaintiff, “Lender”), are the plaintiffs in the above-captioned case.
5             2.      I have personal knowledge of the matters set forth in this declaration, either through
6     firsthand experience or from my personal review of Lender’s records over which I am a custodian.
7     Those records were kept and made in the ordinary course of Lender’s business at or near the time
8     of the act or occurrence described therein by someone with knowledge thereof including, without
9     limitation, those documents accompanying Plaintiff’s Complaint for (1) Breach of Contract,
10    Appointment of Receiver, Accounting and Specific Performance of Rents-and-Profits Clause; and
11    (2) Injunctive Relief (the “Complaint”) as Exhibits 1-26. I make this declaration based on such
12    personal knowledge. If called upon as a witness in this case, I could and would testify competently
13    to the truth thereof.
14            3.      I have personal knowledge of, among other things, the Plaintiff, the Borrower, the
15    Loans, the Loan Documents, and the Property (as those terms are defined in the Complaint), as
16    well as the facts and circumstances surrounding the same, including but not limited to the facts
17    and circumstances which give rise to the Complaint herein.
18            4.      Borrower owns and operates a pistachio and almond farming operation spanning
19    multiple counties in and around Central California. Lender is one of a handful of financial
20    institutions that have provided funding to the Borrower and taken security interests in and to
21    Borrower’s assets, including but not limited to those assets described herein which form the basis
22    of Lender’s collateral.
23    I.      THE LOAN AND THE LOAN DOCUMENTS.

24            5.      Lender has made multiple loans to Borrower, as summarized below. Each Loan is

25    in default by its terms, and Lender has accelerated each Loan.

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28                                                     2
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1            A.      The Westlands/Fresno Loan.
2            6.      Prudential previously made those certain loans to Borrower Maricopa, ACDF,

3     Assemi, C & A, Cantua, Gradon, Granville, Lincoln, Panoche, Sageberry, and GV AG

4     (collectively, “Westlands/Fresno Borrower”) in the aggregate original principal amount of Five-

5     Hundred Fifty Million Dollars ($550,000,000.00) (as amended, supplemented, restated, and/or

6     otherwise modified from time to time, the “Westlands/Fresno Loan”) pursuant to that certain

7     Loan Agreement dated as of March 11, 2022 (the “Westlands/Fresno Closing Date”) by and

8     among Westlands/Fresno Borrower and Prudential (as the same has been or may be modified from

9     time to time, including by that certain Loan Modification Agreement, dated April 25, 2022, that

10    certain Second Loan Modification Agreement, dated March 28, 2023, that certain Third Loan

11    Modification Agreement, dated March 29, 2023, and that certain Fourth Loan Modification

12    Agreement, dated May 4, 2023, the “Westlands/Fresno Loan Agreement”; and together with all

13    other documents evidencing, relating to, and/or securing the Westlands/Fresno Loan, including

14    without limitation, any and all documents amending and modifying the terms of the

15    Westlands/Fresno Loan, collectively, the “Westlands/Fresno Loan Documents”). A true and

16    correct copy of the Westlands/Fresno Loan Agreement is attached to the Complaint as Exhibit 1.

17           7.      The Westlands/Fresno Loan is evidenced by, among other things: (i) that certain

18    Promissory Note, dated as of the Westlands/Fresno Closing Date, made by Westlands/Fresno

19    Borrower and payable to Prudential, in the principal amount of $500,000,000.00 (Loan No.

20    717612168) (“Westlands/Fresno Note 1”); and (ii) that certain Promissory Note, dated as of May

21    4, 2023, made by Westlands/Fresno Borrower and payable to Prudential, in the principal amount

22    of $50,000,000.00 (Loan No. 717612340) (“Westlands/Fresno Note 3”, and collectively with

23    Westlands/Fresno Note 1, as the same may be amended, supplemented, restated, replaced, or

24    otherwise modified from time to time, the “Westlands/Fresno Notes”). As of July 1, 2024, the

25    outstanding principal balance of the Westlands/Fresno Loan is $550,000,000.00, the outstanding

26    interest accrued on Westlands/Fresno Note 1 is $9,883,333.33 and the outstanding interest accrued

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28                                                  3
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1     on Westlands/Fresno Note 3 is $0.00. True and correct copies of the Westlands/Fresno Notes are
2     attached to the Complaint as Exhibit 2.
3            8.      The Westlands/Fresno Loan and the Westlands/Fresno Notes are secured by,
4     among other things: (i) that certain Fresno Deed of Trust recorded March 21, 2022, as Fresno
5     County Recorder’s No. 2022-0036711, as amended by that certain Modification to Deed of Trust
6     (Fresno County) recorded March 30, 2023, as Fresno County Recorder’s No. 2023-0030804, by
7     that certain Second Modification to Deed of Trust (Fresno County) recorded May 9, 2023 as Fresno
8     County Recorder’s No. 2023-0043221, and by that certain Third Modification to Deed of Trust
9     (Fresno County) executed by ACDF, C & A, Cantua, Gradon, Granville, Maricopa, Panoche, and
10    Sageberry to Prudential, recorded June 29, 2023 as Fresno County Recorder’s No. 2023-0060288;
11    (ii) that certain Kern Deed of Trust, recorded March 21, 2022, as Kern County Recorder’s No.
12    222043952, as amended by that certain Modification to Deed of Trust (Kern County) recorded
13    March 30, 2023 as Kern County Recorder’s No. 223036184, by that certain Second Modification
14    to Deed of Trust (Kern County) recorded May 9, 2023 as Kern County Recorder’s No. 223054287,
15    and by that certain Third Modification to Deed of Trust (Kern County) executed by ACDF, C &
16    A, Maricopa, and GV AG to Prudential, recorded June 29, 2023 as Kern County Recorder’s No.
17    223075826; (iii) that certain Kings Deed of Trust, recorded March 21, 2022, as Kings County
18    Recorder’s No. 2205342, as amended by that certain Modification to Deed of Trust (Kings County)
19    recorded on March 30, 2023 as Kings County Recorder’s No. 2304689, by that certain Second
20    Modification to Deed of Trust (Kings County) recorded May 9, 2023, as Kings County Recorder’s
21    No. 2306898, and by that certain Third Modification to Deed of Trust (Kings County) executed
22    by Lincoln and Cantua to Prudential recorded June 29, 2023, as Kings County Recorder’s
23    No. 2309463; (iv) that certain Madera Deed of Trust, recorded March 21, 2022, as Madera County
24    Recorder’s No. 2022008052, as amended by that certain Modification to Deed of Trust (Madera
25    County) recorded on March 30, 2023 as Madera County Recorder’s No. 2023006134, by that
26    certain Second Modification to Deed of Trust (Madera County) recorded May 9, 2023 as Madera
27    County Recorder’s No. 2023008790, and by that certain Third Modification to Deed of Trust
28                                                  4
                  DECLARATION OF WILLIAM SCIACQUA IN SUPPORT OF EX PARTE MOTION
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1     (Madera County) executed by ACDF and Assemi to Prudential recorded June 29, 2023 as Madera
2     County Recorder’s No. 2023012199; and (v) that certain 2023 Deed of Trust, recorded March 30,
3     2023 as Fresno County Recorder’s No. 2023-0030812, as amended by that certain Modification to
4     Deed of Trust (2023 Deed of Trust) recorded May 9, 2023 as Fresno County Recorder’s No. 2023-
5     0043220 and by that certain Second Modification to Deed of Trust (2023 Deed of Trust) executed
6     by Granville, Panoche, Gradon, and Sageberry to Prudential, recorded June 29, 2023 as Fresno
7     County Recorder’s No. 2023-0060287 (collectively, the “Westlands/Fresno Instrument”),
8     granting to Prudential, among other things, a lien on and/or security interest in the real property
9     and personal property described in said Westlands/Fresno Instrument (collectively,
10    the “Westlands/Fresno Property”), certain assignment(s) of leases and rents, and certain other
11    security instruments. True and correct copies of the Westlands/Fresno Instrument are attached to
12    the Complaint as Exhibit 3.
13           B.      The Kern/Tulare Loan.

14           9.      Prudential previously made those certain three loans to Borrower ACDF, Bear Flag,

15    and Maricopa (collectively, “Kern/Tulare Borrower”) in the aggregate original principal amount

16    of Ninety-One Million One-Hundred Twenty-Four Thousand Dollars ($91,124,000.00) (as

17    amended, supplemented, restated, and/or otherwise modified from time to time, the “Kern/Tulare

18    Loan”) pursuant to that certain Loan Agreement dated as of January 23, 2020 (the “ Kern/Tulare

19    Closing Date”) by and among Kern/Tulare Borrower and Prudential (as the same has been or may

20    be modified from time to time, including by that certain Loan Modification Agreement dated

21    February 14, 2020, that certain Second Loan Modification Agreement dated December 24, 2020,

22    that certain Third Loan Modification Agreement dated September 9, 2021, that certain Fourth Loan

23    Modification Agreement dated March 1, 2023, and that certain Fifth Loan Modification

24    Agreement dated October 25, 2023, the “Kern/Tulare Loan Agreement”; and together with all

25    other documents evidencing, relating to, and/or securing the Kern/Tulare Loan, including without

26    limitation, any and all documents amending and modifying the terms of the Kern/Tulare Loan,

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28                                                   5
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1     collectively, the “Kern/Tulare Loan Documents”). A true and correct copy of the Kern/Tulare
2     Loan Agreement is attached to the Complaint as Exhibit 4.
3            10.      The Kern/Tulare Loan is evidenced by, among other things: (i) that certain
4     Promissory Note, dated as of the Kern/Tulare Closing Date in the original principal amount of
5     $70,000,000.00 (Loan No. 717611848) (“Kern/Tulare Note 1”); (ii) that certain Promissory Note,
6     dated February 14, 2020 in the original principal amount of $14,700,000.00 (Loan No. 717611852)
7     (“Kern/Tulare Note 2”); and (iii) that certain Promissory Note, dated March 1, 2023 in the
8     original principal amount of $6,424,000.00 (Loan No. 717612317) (“Kern/Tulare Note 5”, and
9     collectively with Kern/Tulare Note 1 and Kern/Tulare Note 2, as the same may be amended,
10    supplemented, restated, replaced, or otherwise modified from time to time, the “Kern/Tulare
11    Notes”). As of July 1, 2024, the outstanding principal balance of the Kern/Tulare Loan is
12    $72,910,160.00, the outstanding interest accrued on Kern/Tulare Note 1 is $1,143,800.00, the
13    outstanding interest accrued on Kern/Tulare Note 2 is $124,319.28, and the outstanding interest
14    accrued on Kern/Tulare Note 5 is $201,970.56. True and correct copies of the Kern/Tulare Notes
15    are attached to the Complaint as Exhibit 5.
16           11.      The Kern/Tulare Loan and the Kern/Tulare Notes are secured by, among other
17    things, that certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing with
18    Assignment of Rents and Proceeds, Leases and Agreements, executed by Kern/Tulare Borrower
19    to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of Prudential, dated as of the
20    Kern/Tulare Closing Date and recorded as of the Kern/Tulare Closing Date, as Kern County
21    Recorder’s No. 220009640 and as Tulare County Recorder’s No. 2020-0004578, as amended by
22    that certain Modification of Deed of Trust dated February 14, 2020, and recorded on February 20,
23    2020, as Kern County Recorder’s No. 220022789 and as Tulare County Recorder’s No. 2020-
24    0010542, by that certain Second Modification of Deed of Trust dated December 24, 2020, and
25    recorded on December 31, 2020, as Kern County Recorder’s No. 220204171 and as Tulare County
26    Recorder’s No. 2020-0085322, by that certain Third Modification of Deed of Trust dated
27    September 9, 2021, and recorded on September 15, 2021, as Kern County Recorder’s No.
28                                                  6
                   DECLARATION OF WILLIAM SCIACQUA IN SUPPORT OF EX PARTE MOTION
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1     221174792 and as Tulare County Recorder’s No. 2021-0067792, and by that certain Fourth
2     Modification of Deed of Trust dated March 1, 2023, and recorded on March 8, 2023, as Kern
3     County Recorder’s No. 223026702 and as Tulare County Recorder’s No. 2023-0010907 (as the
4     same has been or may be amended, extended, consolidated, assigned, or otherwise modified from
5     time to time, the “Kern/Tulare Instrument”), granting to Prudential, among other things, a lien
6     on and/or security interest in the real property and personal property described in said Kern/Tulare
7     Instrument (collectively, the “Kern/Tulare Property”), certain assignment(s) of leases and rents,
8     and certain other security instruments. A true and correct copy of the Kern/Tulare Instrument is
9     attached to the Complaint as Exhibit 6.
10           C.       The Devine Loan.
11           12.      Prudential previously made that certain loan to Borrower C & A (“Devine
12    Borrower”) in the aggregate original principal amount of Six Million One-Hundred Seventy-Six
13    Thousand Dollars ($6,176,000.00) (as amended, supplemented, restated, and/or otherwise
14    modified from time to time, the “Devine Loan”) pursuant to that certain Loan Agreement dated
15    as of May 19, 2021 (the “Devine Closing Date”) by and among Devine Borrower and Prudential
16    (as the same has been or may be modified from time to time, the “Devine Loan Agreement”; and
17    the Devine Loan Agreement together with all other documents evidencing, relating to, and/or
18    securing the Devine Loan, including without limitation, any and all documents amending and
19    modifying the terms of the Devine Loan, collectively, the “Devine Loan Documents”). A true
20    and correct copy of the Devine Loan Agreement is attached to the Complaint as Exhibit 7.
21           13.      The Devine Loan is evidenced by, among other things, that certain Promissory
22    Note, dated as of the Devine Closing Date in the original principal amount of $6,176,000.00 (Loan
23    No. 717612116) (the “Devine Note”). As of July 1, 2024, the outstanding principal balance of the
24    Devine Loan is $5,558,400.00 and the outstanding interest accrued on Devine Note is $101,440.80.
25    A true and correct copy of the Devine Note is attached to the Complaint as Exhibit 8.
26           14.      The Devine Loan and the Devine Note are secured by, among other things, that
27    certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing with Assignment of
28                                                    7
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1     Rents and Proceeds, Leases and Agreements, executed by Devine Borrower to OLD REPUBLIC
2     TITLE COMPANY as trustee for the benefit of Prudential, dated May 19, 2021 and recorded May
3     27, 2021, as Fresno County Recorder’s No. 2021-0087704 (as the same has been or may be
4     amended, extended, consolidated, assigned, or otherwise modified from time to time, the “Devine
5     Instrument”), granting to Prudential, among other things, a lien on and/or security interest in the
6     real property and personal property described in said Devine Instrument (collectively, the “Devine
7     Property”), certain assignment(s) of leases and rents, and certain other security instruments. A
8     true and correct copy of the Devine Instrument is attached to the Complaint as Exhibit 9.
9            D.       The Saviez Loan.
10           15.      Prudential previously made that certain loan to Borrower C & A and Maricopa
11    (collectively, “Saviez Borrower”), in the aggregate original principal amount of Three Million
12    Six-Hundred Forty-Two Thousand Dollars ($3,642,000.00) (as amended, supplemented, restated,
13    and/or otherwise modified from time to time, the “Saviez Loan”) pursuant to that certain Loan
14    Agreement dated as of November 8, 2021 (the “Saviez Closing Date”) by and among Borrower
15    and Prudential (as the same has been or may be modified from time to time, the “Saviez Loan
16    Agreement”, and together with the Westlands/Fresno Loan Agreement, the Kern/Tulare Loan
17    Agreement, and the Devine Loan Agreement, collectively the “Westlands Et Al. Loan
18    Agreements”; and together with all other documents evidencing, relating to, and/or securing the
19    Saviez Loan, including without limitation, any and all documents amending and modifying the
20    terms of the Saviez Loan, collectively, the “Saviez Loan Documents”; and the Saviez Loan
21    Documents together with the Westlands/Fresno Loan Documents, the Kern/Tulare Loan
22    Documents, and the Devine Loan Documents, collectively the “Westlands Et Al.
23    Loan Documents”). A true and correct copy of the Saviez Loan Agreement is attached to the
24    Complaint as Exhibit 10.
25           16.      The Saviez Loan is evidenced by, among other things, that certain Promissory Note,
26    dated as of the Saviez Closing Date in the original principal amount of $3,642,000.00 (Loan No.
27    717612122) (the “Saviez Note”, and together with the Westlands/Fresno Notes, the Kern/Tulare
28                                                   8
                   DECLARATION OF WILLIAM SCIACQUA IN SUPPORT OF EX PARTE MOTION
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1      Notes, and the Devine Note, the “Westlands Et Al. Notes” and each a “Westlands Et Al. Note”).
2      As of July 1, 2024, the outstanding principal balance of the Saviez Loan is $3,277,800.00 and the
3      outstanding interest accrued on Saviez Note is $51,133.68. A true and correct copy of the Saviez
4      Note is attached to the Complaint as Exhibit 11.
5             17.       The Saviez Loan and the Saviez Note are secured by, among other things, that
6      certain Deed of Trust, Security Agreement, Crop Filing and Fixture Filing with Assignment of
7      Rents and Proceeds, Leases and Agreements, executed by Saviez Borrower to OLD REPUBLIC
8      TITLE COMPANY as trustee for the benefit of Prudential, dated November 8, 2021 and recorded
9      November 10, 2021, as Fresno County Recorder’s No. 2021-0187129 (as the same has been or
10     may be amended, extended, consolidated, assigned, or otherwise modified from time to time,
11     the “Saviez Instrument”, and together with the Westlands/Fresno Instrument, the Kern/Tulare
12     Instrument, and the Devine Instrument, collectively the “Westlands Et Al. Instrument”),
13     granting to Prudential, among other things, a lien on and/or security interest in the real property
14     and personal property described in said Saviez Instrument (the “Saviez Property”, and together
15     with the Westlands/Fresno Property, the Kern/Tulare Property, and the Devine Property,
16     the “Westlands Et Al. Property”), certain assignment(s) of leases and rents, and certain other
17     security instruments. A true and correct copy of the Saviez Instrument is attached to the Complaint
18     as Exhibit 12.
19            18.       On or about May 16, 2024, Prudential executed that certain Assignment of Deed of
20     Trust, Security Agreement, Cop Filing and Fixture Filing with Assignment of Rents And Proceeds,
21     Leases and Agreement, recorded on May 21, 2024, as Fresno County Recorder’s No. 2024-
22     0044852, thereby assigning the Saviez Instrument, along with, among other things, all notes,
23     obligations, and liens described therein, to Hartford Trust (the “Saviez Assignment”). A true and
24     correct copy of the Saviez Assignment is attached to the Complaint as Exhibit 13. Thereafter,
25     PGIM REF was appointed to act as special servicer for and on behalf of Hartford Trust, including
26     filing actions for and on behalf of Hartford Trust.
27
28                                                     9
                    DECLARATION OF WILLIAM SCIACQUA IN SUPPORT OF EX PARTE MOTION
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1             E.       The PGIM REF Loan.
2             19.      PGIM REF previously made those certain loans to Borrower ACDF, Avila, Bear
3      Flag, C & A, DA Real Estate, Favier, FG2, Gradon, Grantland 1, Grantland 2, Grantor
4      Investments, GVM, Lincoln, Maricopa, and Sageberry (collectively, “PGIM REF Borrower”) in
5      the aggregate original principal amount of Eighty-Four Million Two-Hundred Fifty-Five
6      Thousand Dollars ($84,255,000.00) (as amended, supplemented, restated, and/or otherwise
7      modified from time to time, the “PGIM REF Loan” and together with the Westlands/Fresno
8      Loan, the Kern/Tulare Loan, the Devine Loan, and the Saviez Loan, the “Loans”) pursuant to that
9      certain Amended and Restated Loan Agreement dated as of August 26, 2020 (the “PGIM REF
10     Closing Date”) by and among PGIM REF Borrower and PGIM REF (as the same has been or may
11     be amended, extended, consolidated, assigned, or otherwise modified from time to time including
12     by that certain Loan Modification Agreement dated April 15, 2021, by that certain Second Loan
13     Modification Agreement dated April 16, 2021, by that certain Third Loan Modification Agreement
14     dated July 22, 2021, by that certain Fourth Loan Modification Agreement dated April 11, 2022
15     (the “Fourth Modification”), and by that certain Fifth Loan Modification Agreement dated
16     October 25, 2023, the “PGIM REF Loan Agreement”; and together with all other documents
17     evidencing, relating to, and/or securing the PGIM REF Loan, including without limitation, any
18     and all documents amending and modifying the terms of the Loan, collectively, the “PGIM REF
19     Loan    Documents”      and   together   with    the   Westlands   Et   Al.   Loan   Documents,
20     the “Loan Documents”). A true and correct copy of the PGIM REF Loan Agreement is attached
21     to the Complaint as Exhibit 14.
22            20.      As set forth in more detail in the PGIM REF Loan Agreement, Derek Bell and
23     Rachel Marie White are non-borrower trustors in connection with certain of the Property pledged
24     to secure the PGIM REF Loan and executed a rider to the PGIM REF Loan Agreement.
25            21.      As set forth in more detail in the Fourth Modification, initial borrowers 104
26     PARTNERS, LLC, a California limited liability company (“104 Partners”) and BISHOP FARMS
27     22, LLC, a California limited liability company (“Bishop Farms”) were merged into ACDF.
28                                                     10
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1             22.       The PGIM REF Loan is evidenced by, among other things: (i) that certain
2      Promissory Note, dated as of August 1, 2017, made by PGIM REF Borrower and payable to PGIM
3      REF, in the original principal amount of $13,000,000.00 (Loan No. 717611236) (as amended by
4      that certain Modification Agreement – Benchmark Index Transition, dated July 1, 2023, “PGIM
5      REF Note 2”); (ii) that certain Promissory Note, dated as of October 12, 2018, made by PGIM
6      REF Borrower and payable to PGIM REF, in the original principal amount of $16,000,000.00
7      (Loan No. 717611624) (“PGIM REF Note 3”); (iii) that certain Promissory Note, dated as of
8      October 8, 2019, made by PGIM REF Borrower and payable to PGIM REF, in the original
9      principal amount of $11,150,000.00 (Loan No. 717611763) (“PGIM REF Note 4”); (iv) that
10     certain Promissory Note, dated as of November 7, 2019, made by PGIM REF Borrower and
11     payable to PGIM REF, in the original principal amount of $32,050,000.00 (Loan No. 717611810)
12     (“PGIM REF Note 5”); (v) that certain Promissory Note, dated as of April 15, 2021, made by
13     PGIM REF Borrower and payable to PGIM REF, in the original principal amount of $5,600,000.00
14     (Loan No. 717612029) (“PGIM REF Note 6”); and (vi) that certain Promissory Note, dated as of
15     April 16, 2021, made by PGIM REF Borrower and payable to PGIM REF, in the original principal
16     amount of $6,455,000.00 (Loan No. 717612063) (“PGIM REF Note 7”, and collectively with
17     PGIM REF Note 2, PGIM REF Note 3, PGIM REF Note 4, PGIM REF Note 5, and PGIM REF
18     Note 6, as the same may be amended, supplemented, restated, replaced, or otherwise modified
19     from time to time, the “PGIM REF Notes” and each a “PGIM REF Note” and together with the
20     Westlands Et Al. Notes, the “Notes” and each a “Note”). As of July 1, 2024, the outstanding
21     principal balance of the PGIM REF Loan is $60,728,900.00, the outstanding interest accrued on
22     PGIM REF Note 2 is $4,232.44, the outstanding interest accrued on PGIM REF Note 3 is
23     $293,280.00, the outstanding interest accrued on PGIM REF Note 4 is $183,417.50, the
24     outstanding interest accrued on PGIM REF Note 5 is $496,710.90, the outstanding interest accrued
25     on PGIM REF Note 6 is $86,240.00, and the outstanding interest accrued on PGIM REF Note 7 is
26     $99,407.00. True and correct copies of the PGIM REF Notes are attached to the Complaint as
27     Exhibit 15.
28                                                  11
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1            23.      The PGIM REF Loan and the PGIM REF Notes are secured by, among other things:
2                     a.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
3            Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by Favier
4            to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated
5            August 1, 2017 and recorded on August 21, 2017, as Merced County No. 2017026836, as
6            amended by that certain Modification of Deed of Trust dated October 12, 2018, and
7            recorded on October 22, 2018, as Merced County No. 2018032706, by that certain Second
8            Modification of Deed of Trust dated August 26, 2020 and recorded on August 28, 2020, as
9            Merced County No. 2020029955, by that certain Third Modification of Deed of Trust dated
10           September 24, 2020 and recorded on October 8, 202, as Merced County No. 2020036569,
11           by that certain Fourth Modification of Deed of Trust dated April 15, 2021 and recorded on
12           April 20, 2021, as Merced County No. 2021017710, and by that certain Fifth Modification
13           of Deed of Trust dated April 16, 2021 (as the same has been or may be amended, extended,
14           consolidated, assigned, or otherwise modified from time to time, the “2017 Deed
15           of Trust”). A true and correct copy of the 2017 Deed of Trust is attached to the Complaint
16           as Exhibit 16;
17                    b.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
18           Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by 104
19           Partners, Bishop, DA Real Estate, Grantland 1, Grantland 2, Grantor Investments, Lincoln,
20           and Maricopa to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM
21           REF, dated October 12, 2018 and recorded October 22, 2018, as Fresno County No. 2018-
22           0129050 and as Kern County Recorder’s No. 218139395, as amended by that certain
23           Modification of Deed of Trust dated August 26, 2020 and recorded August 28, 2020, as
24           Fresno County No. 2020-0112978 and as Kern County Recorder’s No. 220119047, by that
25           certain Second Modification of Deed of Trust, dated September 24, 2020 and recorded
26           October 8, 2020, as Fresno County No. 2020-0140536 and as Kern County Recorder’s No.
27           220146496, by that certain Third Modification of Deed of Trust, dated April 15, 2021 and
28                                                  12
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1            recorded April 20, 2021, as Fresno County No. 2021-0064511 and as Kern County
2            Recorder’s No. 221073050, and by that certain Fourth Modification of Deed of Trust, dated
3            April 16, 2021 (as the same has been or may be amended, extended, consolidated, assigned,
4            or otherwise modified from time to time, the “2018 Deed of Trust”). A true and correct
5            copy of the 2018 Deed of Trust is attached to the Complaint as Exhibit 17;
6                   c.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
7            Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by C &
8            A to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated
9            October 8, 2019 and recorded on October 17, 2019, as Fresno County No. 2019-0124295,
10           as amended by that certain Modification of Deed of Trust dated August 26, 2020 and
11           recorded on August 28, 2020, as Fresno County No. 2020-0112977, by that certain Second
12           Modification of Deed of Trust dated September 24, 2020 and recorded on October 8, 2020,
13           as Fresno County No. 2020-0140538, by that certain Third Modification of Deed of Trust
14           dated April 15, 2021 and recorded on April 20, 2021, as Fresno County No. 2021-0064513,
15           and by that certain Fourth Modification of Deed of Trust dated April 16, 2021 (as the same
16           has been or may be amended, extended, consolidated, assigned, or otherwise modified from
17           time to time, the “2019A Deed of Trust”). A true and correct copy of the 2019A Deed of
18           Trust is attached to the Complaint as Exhibit 18;
19                  d.      That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
20           Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by
21           Maricopa, 104 Partners, Grantor Investments, DEREK BELL, a married man as his sole
22           and separate property, and RACHEL MARIE WHITE, an unmarried woman to OLD
23           REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF, dated November
24           7, 2019 and recorded November 13, 2019, as Fresno County No. 2019-0136752 and as
25           Kern County Recorder’s No. 219151263, as amended by that certain Modification of Deed
26           of Trust dated August 25, 2020 and recorded August 28, 2020, as Fresno County No. 2020-
27           0112979 and as Kern County Recorder’s No. 220119048, by that certain Second
28                                                  13
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1            Modification of Deed of Trust, dated September 24, 2020 and recorded October 8, 2020,
2            as Fresno County No. 2020-0140539 and as Kern County Recorder’s No. 220146497, by
3            that certain Third Modification of Deed of Trust, dated April 15, 2021 and recorded April
4            20, 2021, as Fresno County No. 2021-0064514 and as Kern County Recorder’s No.
5            221073051, and by that certain Fourth Modification of Deed of Trust, dated April 16, 2021
6            (as the same has been or may be amended, extended, consolidated, assigned, or otherwise
7            modified from time to time, the “2019B Deed of Trust”). A true and correct copy of the
8            2019B Deed of Trust is attached to the Complaint as Exhibit 19;
9                   e.     That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
10           Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by Bear
11           Flag and Gradon to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of
12           PGIM REF, dated April 15, 2021 and recorded April 20, 2021, as Fresno County No. 2021-
13           0064510, as amended by that certain Modification of Deed of Trust dated April 16, 2021
14           (as the same has been or may be amended, extended, consolidated, assigned, or otherwise
15           modified from time to time, the “2021A Deed of Trust”). A true and correct copy of the
16           2021A Deed of Trust is attached to the Complaint as Exhibit 20;
17                  f.     That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
18           Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by Avila,
19           FG2, and GVM to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM
20           REF, dated April 16, 2021 and recorded April 28, 2021, as Fresno County No. 2021-
21           0070226 (as the same has been or may be amended, extended, consolidated, assigned, or
22           otherwise modified from time to time, the “2021B Deed of Trust”). A true and correct
23           copy of the 2021B Deed of Trust is attached to the Complaint as Exhibit 21; and
24                  g.     That certain Deed of Trust, Security Agreement, Crop Filing and Fixture
25           Filing with Assignment of Rents and Proceeds, Leases and Agreements, executed by
26           Sageberry to OLD REPUBLIC TITLE COMPANY as trustee for the benefit of PGIM REF,
27           dated October 12, 2018 and recorded on October 23, 2018, as Fresno County No. 2018-
28                                                 14
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1             0129051, as amended by that certain Modification of Deed of Trust dated August 26, 2020
2             and recorded on August 28, 2020, as Fresno County No. 2020-0112980, by that certain
3             Second Modification of Deed of Trust dated September 24, 2020 and recorded on October
4             8, 2020, as Fresno County No. 2020-0140537, by that certain Third Modification of Deed
5             of Trust dated April 15, 2021 and recorded on April 20, 2021, as Fresno County No. 2021-
6             0064512, that certain Fourth Modification of Deed of Trust dated April 16, 2021, and by
7             that certain Fifth Modification of Deed of Trust, dated July 22, 2021 and recorded on July
8             29, 2021, as Fresno County No. 2021-0123121 (as the same has been or may be amended,
9             extended, consolidated, assigned, or otherwise modified from time to time, the “Miossi
10            Deed of Trust”, and together with the 2017 Deed of Trust, the 2018 Deed of Trust, the
11            2019A Deed of Trust, the 2019B Deed of Trust, the 2021A Deed of Trust, and the 2021B
12            Deed of Trust, collectively the “PGIM REF Instrument” and together with the Westlands
13            Et Al. Instrument, the “Instruments” and each an “Instrument”), granting to PGIM REF,
14            among other things, a lien on and/or security interest in the real property and personal
15            property described in said PGIM REF Instrument (collectively, the “PGIM REF Property”
16            and together with the Westlands Et Al. Property, the “Property”), certain assignment(s) of
17            leases and rents, and certain other security instruments. A true and correct copy of the
18            Miossi Deed of Trust is attached to the Complaint as Exhibit 22.
19     II.    RELEVANT TERMS OF LENDER’S LOAN DOCUMENTS.

20            24.      With respect to the Westland/Fresno Loan Documents, Borrower has the following

21     payment obligations:

22                     a.     Westlands/Fresno Note 1 requires Westlands/Fresno Borrower to make

23            payments of interest on every January 1 and July 1, at a non-default interest rate of 4.82%.

24            Westlands/Fresno Note 1, §§ 2 and 3.1.

25                     b.     Westlands/Fresno Note 1 requires Westlands/Fresno Borrower to make

26            payments of principal on every January 1 and July 1, in the amount of $10,000,000.00,

27            beginning on July 1, 2024. Westlands/Fresno Note 1, § 3.2.

28                                                   15
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1                      c.     Westlands/Fresno Note 3 requires Westlands/Fresno Borrower to make
2             payments of interest on every January 1, April 1, July 1, and October 1, at a floating rate.
3             Westlands/Fresno Note 3, § 4.1.
4             25.      With respect to the Kern/Tulare Loan Documents, Borrower has the following
5      payment obligations:
6                      a.     Kern/Tulare Note 1 requires Kern/Tulare Borrower to make payments of
7             interest on every January 1 and July 1, at a non-default interest rate of 3.80%. Kern/Tulare
8             Note 1, §§ 2 and 3.1.
9                      b.     Kern/Tulare Note 1 requires Kern/Tulare Borrower to make payments of
10            principal on every January 1 and July 1, in the amount of $1,400,000.00, beginning on
11            January 1, 2021. Kern/Tulare Note 1, § 3.2.
12                     c.     Kern/Tulare Note 2 requires Kern/Tulare Borrower to make payments of
13            interest on every January 1 and July 1, at a non-default interest rate of 3.80%. Kern/Tulare
14            Note 2, §§ 2 and 3.1.
15                     d.     Kern/Tulare Note 2 requires Kern/Tulare Borrower to make payments of
16            principal on every January 1 and July 1, in the amount of $294,000.00, beginning on
17            January 1, 2021. Kern/Tulare Note 2, § 3.2.
18                     e.     Kern/Tulare Note 5 requires Kern/Tulare Borrower to make payments of
19            interest on every January 1 and July 1, at a non-default interest rate of 6.55%. Kern/Tulare
20            Note 5, §§ 2 and 3.1.
21                     f.     Kern/Tulare Note 5 requires Kern/Tulare Borrower to make payments of
22            principal on every January 1 and July 1, in the amount of $128,480.00, beginning on
23            January 1, 2023. Kern/Tulare Note 5, § 3.2.
24            26.      With respect to the Devine Loan Documents and Saviez Loan Documents,
25     Borrower has the following payment obligations:
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28                                                   16
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1                      a.      The Devine Note requires Devine Borrower to make payments of interest
2             on every January 1 and July 1, at a non-default interest rate of 3.65%. Devine Note, §§ 2
3             and 3.1.
4                      b.      The Devine Note requires Devine Borrower to make payments of principal
5             on every January 1 and July 1, in the amount of $123,520.00, beginning on January 1,
6             2022. Devine Note, § 3.2.
7                      c.      The Saviez Note requires Saviez Borrower to make payments of interest on
8             every January 1 and July 1, at a non-default interest rate of 3.12%. Saviez Note, §§ 2
9             and 3.1.
10                     d.      The Saviez Note requires Saviez Borrower to make payments of principal
11            on every January 1 and July 1, in the amount of $72,840.00, beginning on January 1, 2022.
12            Saviez Note, § 3.2.
13            27.      With respect to the PGIM REF Loan Documents, Borrower has the following
14     payment obligations:
15                     a.      PGIM REF Note 2 requires PGIM REF Borrower to make payments of
16            interest on every January 1, April 1, July 1, and October 1, at a floating rate. PGIM REF
17            Note 2, § 3.1.
18                     b.      PGIM REF Note 2 requires PGIM REF Borrower to make payments of
19            principal on every January 1, April 1, July 1, and October 1, in the amount of $162,500.00,
20            beginning on April 1, 2018. PGIM REF Note 2, § 3.2.
21                     c.      PGIM REF Note 3 requires PGIM REF Borrower to make payments of
22            interest on every January 1 and July 1, at a non-default interest rate of 4.70%. PGIM REF
23            Note 3, §§ 2 and 3.1.
24                     d.      PGIM REF Note 3 requires PGIM REF Borrower to make payments of
25            principal on every January 1 and July 1, in the amount of $320,000.00, beginning on
26            January 1, 2019. PGIM REF Note 3, § 3.2.
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28                                                    17
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1                      e.     PGIM REF Note 4 requires PGIM REF Borrower to make payments of
2             interest on every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF
3             Note 4, §§ 2 and 3.1.
4                      f.     PGIM REF Note 4 requires PGIM REF Borrower to make payments of
5             principal on every January 1 and July 1, in the amount of $223,000.00, beginning on
6             January 1, 2023. PGIM REF Note 4, § 3.2.
7                      g.     PGIM REF Note 5 requires PGIM REF Borrower to make payments of
8             interest on every January 1 and July 1, at a non-default interest rate of 3.69%. PGIM REF
9             Note 5, §§ 2 and 3.1.
10                     h.     PGIM REF Note 5 requires PGIM REF Borrower to make payments of
11            principal on every January 1 and July 1, in the amount of $641,000.00, beginning on
12            January 1, 2020. PGIM REF Note 5, § 3.2.
13                     i.     PGIM REF Note 6 requires PGIM REF Borrower to make payments of
14            interest on every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF
15            Note 6, §§ 2 and 3.1.
16                     j.     PGIM REF Note 6 requires PGIM REF Borrower to make payments of
17            principal on every January 1 and July 1, in the amount of $112,000.00, beginning on July
18            1, 2021. PGIM REF Note 6, § 3.2.
19                     k.     PGIM REF Note 7 requires PGIM REF Borrower to make payments of
20            interest on every January 1 and July 1, at a non-default interest rate of 3.50%. PGIM REF
21            Note 7, §§ 2 and 3.1.
22                     l.     PGIM REF Note 7 requires PGIM REF Borrower to make payments of
23            principal on every January 1 and July 1, in the amount of $129,100.00, beginning on July
24            1, 2021. PGIM REF Note 7, § 3.2.
25            28.      In addition to the real property described above and with respect to each of the
26     Loans, Borrower has granted Lender a first lien and security interest in all Crops (which are
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1      generally included in the definition of Property under each Instrument) located on or resulting from
2      the Property as set forth in each Instrument. Instruments, p. 1.
3              29.      Under the Loan Documents, “Crops” are defined to include “all annual and/or
4      permanent crops and farm products, including without limitation, all pistachios, almonds and other
5      vine or tree crops, all whether mature or immature and whether now or hereafter growing or to be
6      grown on the Land, whether now or hereafter harvested and/or severed from the Land, and whether
7      or not stored on the Land.” Id. (definition of “Crops”).
8              30.      Further to the security interest granted by Borrower in all Crops, each Instrument
9      also provides that “[t]he security agreement set forth in this Deed of Trust covers all Crops now or
10     hereafter growing on the Land, including, all Crops now or hereafter harvested and/or severed
11     from the Land, whether or not then stored on the Land, and all the products and proceeds thereof.”
12     Id., § 5.3.
13             31.      In addition to a pledge of Crops, Borrower has also pledged to Lender a first lien
14     and security interest in the proceeds of Crops, with include “[a]ll accounts and general intangibles
15     (as such terms are defined in Article 9 of the Uniform Commercial Code) arising out of or incident
16     to the ownership, development or operation of the Land and Improvements, all accounts and
17     general intangibles arising out of Crops, and all other tangible and intangible property and rights
18     relating to the Land and Improvements or the operation thereof, or to be used in connection with
19     the Land and Improvements.” Id. (definition of “Property”); see also Id. (definition of “Rents
20     and Proceeds”).
21             32.      Further, under Article 4 of each Instrument, each applicable Borrower made an
22     absolute and unconditional assignment of the Rents and other profits to Lender. The Loan
23     Documents further state that Plaintiff shall be authorized to, among other things, collect the Rents
24     and any profits upon an Event of Default under the Loan Documents. See, e.g. Id. § 6.1.
25             33.      As to the Loan Documents, the following terms govern events of default that may
26     arise thereunder:
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28                                                     19
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1                   a.      An immediate Event of Default occurs if a Borrower does not pay any
2            indebtedness within ten (10) days of its due date. Loan Agreements, § 6.01(a).
3                   b.      An immediate Event of Default occurs upon the happening of any material
4            adverse change to any applicable Borrower’s or Guarantor’s (as defined in the Loan
5            Agreements) financial condition, which affects their ability to perform obligations or pay
6            the indebtedness owed under such Loan Agreement. Id., § 6.01(g).
7                   c.      An immediate Event of Default occurs if any Borrower or Guarantor
8            thereunder fails to pay its debts as they become due, with an unpaid balance in excess of
9            $500,000. Id., § 6.01(i).
10                  d.      Each Loan Agreement authorizes the applicable Borrower to obtain “Crop
11           Loans” from “Crop Lenders”. Saviez Loan Agreement, § 5.06(b); Kern/Tulare Loan
12           Agreement, § 5.06(b); Devine Loan Agreement, § 5.06(b); PGIM REF Loan Agreement,
13           § 5.06(b); Westlands/Fresno Loan Agreement, § 5.07(b).
14                  e.      “Crop Lenders” refer to nationally or regionally recognized financial
15           institution that engages in agricultural lending and whose loan to the applicable Borrower
16           is secured by crops. Saviez Loan Agreement, § 5.06(a); Kern/Tulare Loan Agreement,
17           § 5.06(a); Devine Loan Agreement, § 5.06(a); PGIM REF Loan Agreement, § 5.06(a);
18           Westlands/Fresno Loan Agreement, § 5.07(a).
19                  f.      “Crop Loans” refer to loans or lines of credit secured by crops. Saviez Loan
20           Agreement, § 5.06(a); Kern/Tulare Loan Agreement, § 5.06(a); Devine Loan Agreement,
21           § 5.06(a); PGIM REF Loan Agreement, § 5.06(a); Westlands/Fresno Loan Agreement,
22           § 5.07(a).
23                  g.      Any default under a Crop Loan, beyond the applicable grace periods, is, at
24           Lender’s discretion, an automatic Event of Default. Saviez Loan Agreement, § 5.06(c);
25           Kern/Tulare Loan Agreement, § 5.06(c); Devine Loan Agreement, § 5.06(c); PGIM REF
26           Loan Agreement, § 5.06(c); Westlands/Fresno Loan Agreement, § 5.07(c).
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28                                                  20
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1                      h.     The Loan Documents require the applicable Borrower to maintain and
2             irrigate the relevant Property, and otherwise operate and maintain the trees and the relevant
3             Property consistent with prevailing good agricultural and business practices. Loan
4             Agreements, § 4.04(a) and (b); Instruments, § 3.2(a).
5             34.      Under the Loan Documents, upon the occurrence of an Event of Default Plaintiff is
6      entitled to the appointment of a receiver (with respect to each Loan) as follows:
7                      a.     Each Instrument provides that upon the occurrence of an Event of Default,
8             as defined in the applicable Loan Agreement, each applicable Borrower agrees that the
9             applicable Lender may seek the ex parte appointment of a receiver over the relevant
10            Property, without bond, without notice, and without regarding to the value, adequacy, or
11            condition of such Property or the danger of loss, removal, or material injury to such
12            Property. Instruments, § 6.2.
13                     b.     Each Borrower-owner disclaimed any right to notice of an application to
14            appoint a receiver, provided that a subsequent hearing to confirm the appointment of such
15            receiver is held. Id.
16                     c.     Each Borrower-owner agreed that it shall not contest the appointment of a
17            receiver and each consented such appointment. Id.
18            35.      One or more Borrower also agreed to the appointment of a receiver in conjunction
19     with the documentation and execution of a Forbearance Agreement (defined below).
20            36.      Upon the occurrence of an Event of Default, Plaintiff is entitled to the payment of
21     default interest, late charges, and fees and costs (with respect to each Loan), including as follows:
22                     a.     Upon the occurrence of an Event of Default under any Loan, at such
23            Lender’s discretion, interest thereon will accrue at the “Default Rate,” which is the greater
24            of 18% and four percentage points above the non-default rate, but in no event greater than
25            the maximum rate permitted by applicable law. Loan Agreements, § 2.04.
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1                         b.     If any Borrower fails to pay any amounts due under a Note or any other
2              Loan Document within ten (10) days of its due date, then a late charge equal to 5% of the
3              amount of such late payment shall be immediately due and payable. Id., § 2.03.
4                         c.     Each Borrower has agreed to pay all costs, fees, and expenses of the
5              applicable Lender incurred in making, administering, or collecting on each Loan, including
6              but not limited to all such amounts incurred in exercising its rights and remedies under the
7              applicable Loan Documents, and such amounts shall incur interest at the Default Rate and
8              be secured by the applicable Instrument. Westlands/Fresno Loan Agreement, § 8.09(f);
9              Devine Loan Agreement, § 8.09(f); Saviez Loan Agreement, § 8.09(f); PGIM REF Loan
10             Agreement, § 9.10(f); Kern/Tulare Loan Agreement, § 10.09(f).
11     III.    THE U.S. BANK LOANS AND THE DEFAULTS THEREUNDER.

12             37.        Maricopa, C & A, and one or more other Borrower (collectively, “Third-Party

13     Loan Borrowers”), are party to that certain Second Amended and Restated Loan and Security

14     Agreement, dated as of March 25, 2019 (the “U.S. Bank Credit Agreement”), to which certain

15     lenders and U.S. Bank National Association (“U.S. Bank”) (as successor-in-interest to MUFG

16     Union Bank, N.A.), in its capacity as administrative agent for the lenders party thereto, are also

17     parties thereto.

18             38.        Upon information and belief, the proceeds of the U.S. Bank Credit Agreement were

19     used for Third-Party Loan Borrowers’ operations, including the growing of crops through 2023,

20     and the U.S. Bank Credit Agreement is secured by crops.

21             39.        Upon information and belief, the proceeds of the U.S. Bank Credit Agreement were

22     not used for the growing or harvesting of crops by Third-Party Loan Borrowers for the crop year

23     ending in 2024.

24             40.        Upon information and belief, U.S. Bank is a nationally recognized financial

25     institution that regularly engages in agricultural lending.

26             41.        As such, the loan evidenced by the U.S. Bank Credit Agreement is a “Crop Loan”,

27     and U.S. Bank is a “Crop Lender”.

28                                                      22
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1             42.      U.S. Bank, Prudential, and PGIM REF are parties to that certain Intercreditor
2      Agreement, dated July 9, 2020 (as amended, supplemented, restated, and/or otherwise modified
3      from time to time, the “ICA”).
4             43.      Pursuant to the ICA:
5                      a.      U.S. Bank agreed that Prudential and PGIM REF had a first priority interest
6             in their real property collateral and certain related assets, and that U.S. Bank did not have
7             an interest in such collateral. ICA, §§ 8 and 9;
8                      b.     Prudential and PGIM REF agreed to subordinate their interests in crop
9             collateral, which includes, among other things, certain crops and equipment, to U.S. Bank’s
10            interest in such assets, in certain circumstances. Id., § 3;
11                     c.     Prudential and PGIM REF’s subordination shall not apply to any crops for
12            which U.S. Bank does not provide financing to grow and complete the harvesting of crops.
13            Id., § 4(a);
14                     d.     In the event that Prudential or PGIM REF acquire or possess any of their
15            real estate collateral, U.S. Bank shall have the opportunity to exercise a temporary license,
16            allowing it to grow and harvest certain crop collateral thereon. Id., § 5; and
17                     e.     Any default under the U.S. Bank Credit Agreement constitutes, at
18            Prudential’s or PGIM REF’s election, an immediate event of default under the Loan
19            Agreements and the Instruments. Id., § 6.
20            44.      The ICA does not provide any cure rights or similar rights to U.S. Bank in the event
21     of any defaults or enforcement actions under or in connection with the Loan Agreements.
22     IV.    INITIAL EVENTS OF DEFAULT AND FORBEARANCE AGREEMENT AS TO
              THE WESTLANDS/FRESNO LOAN.
23
              45.      The stated maturity date of Westlands/Fresno Note 3 was May 1, 2024.
24
       Westlands/Fresno Note 3, p. 3.
25
              46.      Upon maturity, Westlands/Fresno Borrower was required to pay all unpaid amounts
26
       under Westlands/Fresno Note 3. Id., § 4.4. Westlands/Fresno Borrower failed to do so and, as of
27
       the date hereof, still has not tendered such payment.
28                                                     23
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1             47.      As a result of Westlands/Fresno Borrower’s failure to pay all amounts owed under
2      the Westlands/Fresno Note 3 upon its maturity – or any time thereafter – an Event of Default
3      occurred under the Westlands/Fresno Loan Agreement (the “Maturity Default”).
4             48.      Upon information and belief, U.S. Bank sent Third-Party Loan Borrowers notices
5      of default on August 8, 2023, November 9, 2023, January 25, 2024, and February 6, 2024
6      (the “Initial U.S. Bank Defaults” and together with the Maturity Default, the “Initial Defaults”).
7             49.      Thereafter, Westlands/Fresno Borrower requested that Prudential forbear from
8      exercising its rights and remedies in connection with the Initial Defaults.
9             50.      As a result, on or about May 29, 2024, Westlands/Fresno Borrower and Prudential
10     entered into that certain Loan Modification and Forbearance Agreement, effective May 1, 2024
11     (the “Forbearance Agreement”).
12            51.      The Forbearance Agreement included customary terms between the parties,
13     including an obligation by Prudential to forbear until the earlier of October 1, 2024 or the
14     occurrence of a new default under the Westlands/Fresno Loan Documents or the Forbearance
15     Agreement. Forbearance Agreement, Recital F. A true and correct copy of the Forbearance
16     Agreement is attached to the Complaint as Exhibit 23.
17            52.      Pursuant to the Forbearance Agreement, among other thing:
18                     a.     Westlands/Fresno Borrower agreed that the Initial Defaults occurred and
19            were continuing. Id., Recital E and § 1;
20                     b.     Certain of the Westlands/Fresno Loan Documents were amended, including
21            increasing the non-default interest rate on Westlands/Fresno Loan Note 1 from 3.52%
22            to 4.82%. See, e.g., Id. § 3;
23                     c.     Westlands/Fresno Borrower covenanted and agreed that, among other
24            things, no material adverse changes would occur with respect to its ability to pay the
25            Westlands/Fresno Loan or otherwise affect its business, prospects, or financial condition.
26            Id., § 7(y);
27
28                                                    24
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1                      d.     Westlands/Fresno Borrower covenanted and agreed that, among other
2             things, no default in payment or acceleration of the maturity of any indebtedness it owes
3             to any third party would occur. Id., § 7(dd);
4                      e.     Westlands/Fresno Borrower agreed that their failure to discharge their
5             obligations under the Forbearance Agreement, including failure to uphold or discharge any
6             covenants, constitutes an immediate default under the Forbearance Agreement. Id., § 8(a);
7                      f.     Westlands/Fresno Borrower agreed that any Event of Default under the
8             Westlands/Fresno Loan Documents would constitute an immediate default under the
9             Forbearance Agreement. Id., § 8(b);
10                     g.     Westlands/Fresno Borrower: (i) agreed that Prudential had the right to the
11            appointment of a receiver; (ii) consented to (and agreed not to contest) the appointment of
12            a receiver; and (iii) agreed to cooperate with such receiver in the event of a new default
13            under the Westlands/Fresno Loan Documents or the Forbearance Agreement. Id., § 9.
14     V.     THE SUBSEQUENT EVENTS OF DEFAULT AFTER EXECUTION OF THE
              FORBEARANCE AGREEMENT.
15
              53.      Upon information and belief, U.S. Bank sent Third-Party Loan Borrowers a notice
16
       of default on June 3, 2024, asserting that certain defaults or events of default under the U.S. Bank
17
       Credit Agreement occurred (the “Subsequent U.S. Bank Default”).
18
              54.      Thereafter, on June 20, 2024, U.S. Bank sent Third-Party Loan Borrowers a notice
19
       of acceleration and demand for payment, accelerating the U.S. Bank Credit Agreement and
20
       demanding payment for all amounts outstanding under the U.S. Bank Credit Agreement, which
21
       amount purportedly equaled at least $149,000,000, plus fees, costs, and other charges. A copy of
22
       the notice is attached to the Complaint as Exhibit 24.
23
              55.      That same day, U.S. Bank sent a demand for payment to the guarantors under the
24
       U.S. Bank Credit Agreement, which include many of the guarantors of the Loans, demanding
25
       payment for all amounts outstanding under the U.S. Bank Credit Agreement, which amount
26
       purportedly equaled at least $149,000,000, plus fees, costs, and other charges. A copy of the
27
       demand is attached to the Complaint as Exhibit 25.
28                                                    25
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1             56.      As set forth above, Maricopa and C & A, among others, are borrowers under the
2      U.S. Bank Credit Agreement. One or both of Maricopa and C & A, among others, are also
3      borrowers under each Loan.
4             57.      The Initial U.S. Bank Defaults and the Subsequent U.S. Bank Defaults constitute
5      defaults under a “Crop Loan”, thereby constituting immediate Events of Default under each Loan
6      Agreement (collectively, the “Crop Loan Defaults”).
7             58.      As set forth above, as a result of the U.S. Bank Defaults, U.S. Bank accelerated all
8      amounts owed under the U.S. Bank Credit Agreement, causing at least $149,000,000.00 to be
9      immediately due and owing to U.S. Bank by one or more Borrower and Guarantor.
10            59.      This acceleration, and the associated defaults under the U.S. Bank Credit
11     Agreement, affect the ability of Borrower and Guarantor to perform the obligations or pay the
12     indebtedness owed under each Loan Agreement, thereby causing an immediate Event of Default
13     under each Loan Agreement (the “Material Adverse Change Defaults”).
14            60.      In addition, the Third-Party Loan Borrowers, including one or more Borrower, such
15     as Maricopa and C & A, have failed to pay the accelerated amounts under the U.S. Bank Credit
16     Agreement, which amounts exceed $500,000.00, thereby causing an immediate Event of Default
17     under each Loan Agreement (the “Third-Party Indebtedness Defaults”).
18            61.      The applicable Borrower failed to pay principal and interest on July 1 on each of
19     Westlands/Fresno Note 1, the Kern/Tulare Notes, the Devine Note, the Saviez Note, and the PGIM
20     REF Notes. Such amounts remain outstanding. As such, an Event of Default occurred under each
21     Loan Agreement (the “Payment Defaults”).
22            62.      As set forth above, Westlands/Fresno Borrower covenanted and agreed in the
23     Forbearance Agreement that no material adverse change would occur in their ability to pay the
24     Westlands/Fresno Loan or in their business or financial condition, and that no default in payment
25     or acceleration of the maturity of any indebtedness owed to any other party would occur.
26            63.      A breach of any covenants under the Forbearance Agreement constitutes an
27     immediate default thereunder.
28                                                     26
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1             64.      As a result of the Subsequent U.S. Bank Default, over $149,000,000 became
2      immediately due and owing, and has not been paid. This constitutes a failure of Westlands/Fresno
3      Borrower to uphold their covenants that no material adverse change would occur in their business
4      or financial condition and that they would not allow any payment default or acceleration under any
5      third-party loan.
6             65.      Such failures constituted immediate defaults under the Forbearance Agreement
7      (the “Forbearance Covenant Defaults”).
8             66.      In addition, each of the Crop Loan Defaults, Material Adverse Change Defaults,
9      Third-Party Indebtedness Defaults, and Payment Defaults under the Westlands/Fresno Loan
10     Documents constitute immediate defaults under the Forbearance Agreement (the “Cross-
11     Defaults” and together with the Initial Defaults, Subsequent U.S. Bank Default, Crop Loan
12     Defaults, Material Adverse Change Defaults, Third-Party Indebtedness Defaults, Payment
13     Defaults, and Forbearance Covenant Defaults, the “Existing Defaults”).
14            67.      As a result of the Existing Defaults, on July 3, 2024, each applicable Lender sent
15     each applicable Borrower a notice of default, termination of forbearance, and acceleration with
16     respect to the Westlands/Fresno Loan (the “Westlands/Fresno Notice”) and a notice of default
17     and acceleration with respect to each of the Kern/Tulare Loan, the Devine Loan, the Saviez Loan,
18     and the PGIM REF Loan (collectively with the Westlands/Fresno Notice, the “Default Notices”).
19     True and correct copies of the Default Notices are attached to the Complaint as Exhibit 26.
20            68.      The Westlands/Fresno Notice notified Westlands/Fresno Borrower that certain of
21     the Existing Defaults had occurred, that the forbearance under the Forbearance Agreement had
22     terminated, that interest had been accruing on the Westlands/Fresno Loan at the default rate since
23     February 14, 2024, and that the Westlands/Fresno Loan had been accelerated.
24            69.      The other Default Notices notified the applicable Borrower that certain of the
25     Existing Defaults had occurred, that interest had been accruing on the Westlands/Fresno Loan at
26     the default rate since June 3, 2024, and that the applicable Loan had been accelerated.
27
28                                                    27
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1      VI.     WITHOUT THE APPOINTMENT OF A RECEIVER TO MANAGE THE
               PROPERTY AND ALLOW LENDER TO PROVIDE ADDITIONAL FUNDING,
2              THERE IS IMMINENT DANGER TO THE PROPERTY.
3              70.      On information and belief, Borrower has provided certain crops to Touchstone

4      Pistachio Company LLC, a processor and producer of pistachio products (“Touchstone”). On

5      information and belief, Touchstone has common ownership and management with Borrower.

6              71.      On information and belief, Touchstone has not paid Borrower for pistachios

7      delivered by Borrower to Touchstone for at least the last several months.

8              72.      Under the Loan Documents, the pistachios delivered by Borrower to Touchstone

9      constitute “Crops” subject to the first lien security interests of Lender. Moreover, the amounts

10     owed by Touchstone to Borrower for such Crops constitute the proceeds of Lender’s collateral and

11     are also subject the first lien security interests of Lender.

12             73.      Subsequent to the Default Notices and during ongoing discussions with Borrower,

13     Borrower has indicated that:

14                      a.     Trees on the Property need to be sprayed every six days until harvest, which

15             began early last week. If one spray is missed then the trees may be unaffected, but missing

16             two sprays will cause damage to the trees that will take several years to recover;

17                      b.     Without regular watering, the pistachio trees may survive (but be damaged)

18             but the almond trees on the Property will die. These pistachio and almond trees are subject

19             to the first lien security interests of Lender; and

20                      c.     Borrower has significant cash flow and liquidity issues, and estimate that

21             they will have insufficient funds to operate beyond Monday of next week. These issues are

22             likely to result in an inability to pay payroll and maintain a sufficient workforce necessary

23             to manage the Property and care for the trees and plants located on the Property and pay

24             the other expenses associated with such case.

25             74.      Further exacerbating the need to maintain the Property, including the trees and the

26     Crops, on information and belief, pistachio harvest “takes place anywhere from late-August to

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28                                                       28
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1      early-October when the fruit is mature and the shell has split.”1 As a result, Borrower has just
2      begun harvesting the pistachio Crops, requiring Borrower to expend significant resources.
3             75.      On information and belief, Borrower does not have the resources to complete the
4      harvest of the pistachio Crops and will in fact have insufficient funds to operate after next Monday.
5             76.      As a result of the foregoing, there is manifest danger of loss, deterioration, and
6      diminution of the Property, which, along with the revenue generated by its operations, is the
7      primary source for repayment of the Loans, and Plaintiff, as an interested and secured party, is
8      threatened with material losses and injuries for which it has no adequate remedy at law
9      against Borrower.
10            77.      Under California law and as provided in the Loan Documents, Plaintiff has the right
11     to the appointment of a receiver. Plaintiff is contractually and equitably entitled to the immediate
12     appointment of a receiver to take possession of and hold, subject to the discretion of this Court,
13     the Property, its revenue and all of the other collateral that Borrower pledged as security for
14     the Loans.
15            78.      Plaintiff intends to provide additional funding to the appointed receiver to allow it
16     to maintain and manage the Property, including the trees and plants located thereon, and to
17     complete the harvest of its Crop collateral.
18            79.      Given the above, the immediate appointment of a receiver over the Property
19     securing the Loans is necessary to protect, preserve, and safeguard such property. As such, Plaintiff
20     requests that Lance Miller, the designated representative of Pivot Management Group, LLC
21     (the “Proposed Receiver”), be appointed as the receiver. Proposed Receiver is qualified and
22     willing to serve as a receiver to protect, preserve, and safeguard the Property pursuant to an order
23     providing appropriate authority, duties, and responsibilities.
24     VII.   OUTSTANDING LOAN BALANCE AND RESERVATION OF RIGHTS.

25            80.      As of July 1, 2024, the amounts that remain due and owing by Defendant to Plaintiff

26     under the Loan Documents, including outstanding unpaid principal and interest, are no less than

27
       1
              See https://americanpistachios.org/growing-and-harvesting.
28                                                         29
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1      $705,144,545.49 (excluding fees, costs, and other amounts due and owing under the
2      Loan Documents).
3             81.      Plaintiff is also entitled to recover all attorneys’ fees and other expenses incurred
4      in connection with enforcing its rights under the Loan Documents.
5             82.      Plaintiff reserves all of its rights and remedies available under the Loan Documents.
6             83.      Given these facts, Plaintiff seeks the immediate appointment of a receiver to
7      protect, preserve, and safeguard its interests in the Property, to avoid further diminution of value
8      resulting from mismanagement by existing management, and to allow a capable, qualified receiver
9      to manage and liquidate the Property before further deterioration occurs.
10                                           [signature page follows]
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28                                                     30
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 1              I declare under penalty of perjury under the laws of the State of California that the
 2     foregoing is true and correct and that this Declaration was executed this 16th day of September,
 3     2024, at 7108 N Fresno Street, Suite 380, Fresno, CA 93720.
 4



 6                                                 By:_____
                                                    William Sciacqua

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